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     Attorneys for Defendant
14   FONTANA HOSPITALITY GROUP, LLC, dba
     MALONE’S GRILLE; FONTANA FAMILY INVESTMENTS, LLC
15

16                                 UNITED STATES DISTRICT COURT

17                                NORTHERN DISTRICT OF CALIFORNIA

18

19   ARTHUR RENOWITZKY,                       CASE NO. 5:20-cv-07569-NC
                                              Civil Rights
20                   Plaintiff,
                                              STIPULATION AND ORDER OF
21   vs.                                      DISMISSAL WITH PREJUDICE
22   FONTANA HOSPITALITY GROUP,               Action Filed: October 28, 2020
     LLC, dba MALONE’S GRILLE;
23   FONTANA FAMILY INVESTMENTS,
     LLC,
24

25            Defendants.

26
                                           STIPULATION
27
             Plaintiff ARTHUR RENOWIZTKY (“Plaintiff”) and Defendants FONTANA
28
                                               -1-
     STIP AND TO DISMISS
     CASE NO. 5:20-cv-07569-NC
         Case 5:20-cv-07569-NC Document 24 Filed 04/30/21 Page 2 of 3




 1   HOSPITALITY GROUP, LLC, dba MALONE’S GRILLE; FONTANA FAMILY
 2   INVESTMENTS, LLC (“Defendants”) hereby stipulate and request pursuant to FRCP Rule 41(a)
 3   that the Court order that all of Plaintiff’s claims in this action against Defendant be dismissed with
 4   prejudice.
 5   IT IS SO STIPULATED.
 6

 7   Dated: April 30, 2021                         REIN & CLEFTON
 8
                                                         /s/ Aaron M. Clefton
 9
                                                   By: AARON M. CLEFTON, Esq.
10                                                 Attorneys for Plaintiff
                                                   ARTHUR RENOWITZKY
11

12   Dated: April 30, 2021                         FARBSTEIN & BLACKMAN
                                                   A Professional Corporation
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15
                                                         /s/ Ramsey F. Kawar
16                                                 By: RAMSEY F. KAWAR, Esq.
                                                   Attorneys for Defendants
17                                                 FONTANA HOSPITALITY GROUP, LLC, dba
18                                                 MALONE’S GRILLE; FONTANA FAMILY
                                                   INVESTMENTS, LLC
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21
                                        FILER’S ATTESTATION
22
             Pursuant to Local Rule 5-1, I hereby attest that on April 30, 2021, I, Aaron Clefton,
23
     attorney with Rein & Clefton, received the concurrence of Ramsey F. Kawar, Esq. in the filing of
24
     this document.
25
                                                           /s/ Aaron Clefton
26                                                         Aaron Clefton
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     STIP AND TO DISMISS
     CASE NO. 5:20-cv-07569-NC
         Case 5:20-cv-07569-NC Document 24 Filed 04/30/21 Page 3 of 3




 1                                             ORDER
 2           Pursuant to stipulation, and for good cause shown, IT IS SO ORDERED.
                                                               ISTRIC
 3
                                                          TES D      TC
     Dated: April 30, 2021                              TA
 4
                                               Honorable Nathanael Cousins




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                                                  ED
 5                                             U.S. Magistrate Judge




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 7
                                                                             . Cousins



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 8                                                               thanael M
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     STIP AND TO DISMISS
     CASE NO. 5:20-cv-07569-NC
